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19                               UNITED STATES DISTRICT COURT

20                            NORTHERN DISTRICT OF CALIFORNIA

21                                       SAN JOSE DIVISION

22
     ANTHONY P. FOREMAN, individually,              Case No. 5:22-cv-03902
23   and on behalf of all persons similarly
     situated.                                      COLLECTIVE ACTION COMPLAINT
24                        Plaintiff,                AND JURY TRIAL DEMAND
            vs.
25
     APPLE, INC.
26
                        Defendant.
27

28
                                                                       COLLECTIVE ACTION COMPLAINT
                                                                            AND JURY TRIAL DEMAND
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 1          Plaintiff Anthony P. Foreman (“Foreman” or “Plaintiff”), individually and on behalf of all

 2   others similarly situated, brings this action against Apple, Inc. (“Apple” or “Defendant”) and

 3   alleges as follows:

 4                                             INTRODUCTION
 5          1.      This is a collective action to recover overtime wages owed under federal law

 6   brought by Foreman, on behalf of all similarly situated former and current employees of Apple,

 7   who worked as a Solutions Consultant within the past three years (hereinafter referred to as

 8   “Plaintiffs” or the “FLSA Collective Plaintiffs”).

 9          2.      For at least the past three years, Apple has failed to include all statutorily required

10   forms of compensation—including commissions earned by Solutions Consultants—in

11   determining the regular rate for purposes of calculating overtime pay.

12          3.      In addition, Apple has failed to pay Solutions Consultants for all hours worked.

13   Specifically, Apple has engaged in an unlawful pattern or practice of denying earned overtime to

14   its Solutions Consultant by requiring them to begin their workday at home via online

15   videoconferences, to clock out after these videoconferences were complete, and to then travel to

16   their work site location, i.e., next job assignment, without being paid for their time in transit.

17          4.      These practices violate the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et

18   seq., and its implementing regulations.

19          5.      On behalf of himself and the FLSA Collective, Plaintiff seeks actual and liquidated

20   damages, including but not limited to damages for willful violations of the FLSA, as well as fees

21   and costs, for Apple’s violations of the FLSA.

22                                     JURISDICTION AND VENUE
23          6.      The Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331 (federal

24   question), 28 U.S.C. § 1337 (actions arising under Acts of Congress regulating commerce) and 29

25   U.S.C. § 216(b) (the FLSA).

26          7.      The United States District Court for the Northern District of California has

27   personal jurisdiction over Defendant because Defendant has its principal place of business in this

28   District and does business in California and in this District.
                                                                                COLLECTIVE ACTION COMPLAINT
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 1          8.      Venue is proper in this Court because Defendant has its principal place of business

 2   in Santa Clara County and a substantial part of the events or omissions giving rise to the claims

 3   asserted herein occurred in this judicial district. See 28 U.S.C. § 1391(b).

 4          9.      Plaintiff hereby demands trial by jury.

 5                                                PARTIES
 6          10.     Foreman is an individual of the full age of majority, domiciled in Livingston

 7   Parish, Louisiana. He began working for Defendant in 2014 and resigned his employment in

 8   February 2022.

 9          11.     Foreman’s consent to file this Complaint is evidenced by his signature on the

10   FLSA Consent Form attached as an exhibit hereto.

11          12.     Named a defendant herein is Apple, a California corporation with its principal

12   place of business in Cupertino, California. Based on information and belief, Defendant employs

13   Solutions Consultants throughout the United States.

14                                      FACTUAL ALLEGATIONS
15   Background
16          13.     Foreman worked for Apple as a “Solutions Consultant” in Baton Rouge,

17   Louisiana. Solutions Consultants promote the sales of Apple solutions and products in the Apple

18   section of retail store locations. During the times relevant to this lawsuit, Foreman’s work

19   location was in a Best Buy retail store in Baton Rouge, where he worked as a liaison between

20   Apple and Best Buy (or Best Buy customers).

21          14.     At all material times, Foreman and the other FLSA Collective Plaintiffs were

22   “engaged in commerce” within the meaning of § 6 and § 7 of the FLSA, and subject to the

23   individual coverage of the FLSA.

24          15.     At all material times, the FLSA Collective Plaintiffs were the “employees” of

25   Apple within the meaning of the FLSA.

26          16.     At all material times, Defendant was and is an “enterprise engaged in commerce”

27   within the meaning of the FLSA.

28
                                                                               COLLECTIVE ACTION COMPLAINT
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 1           17.     Defendant’s annual sales made or business done was in excess of $500,000 during

 2   all years relevant to this action.

 3           18.     Foreman and the other FLSA Collective Plaintiffs were paid on an hourly basis.

 4           19.     Foreman and the other FLSA Collective Plaintiffs regularly work forty or more

 5   hours per week. However, they were not paid overtime for all hours worked over forty in a

 6   workweek and, when paid overtime, they were not paid at the correct rate.

 7   Overtime Violation – Regular Rate
 8           20.     Defendant did not properly calculate Plaintiffs’ regular rate for purposes of

 9   determining overtime pay for Solutions Consultants, thereby dramatically underpaying them for

10   overtime worked.

11           21.     Foreman and the FLSA Collective Plaintiffs were paid on an hourly basis.

12           22.     Foreman and the FLSA Collective Plaintiffs were also separately paid

13   commissions.

14           23.     In calculating Foreman’s and Plaintiffs’ regular rate for purposes of determining

15   overtime pay, however, Defendant did not incorporate commission payments. As a result, the

16   overtime rate was only one and one-half times Plaintiffs’ hourly rate—not the combination of

17   Plaintiffs’ hourly rate and commission payments. The overtime rate was therefore lower than it

18   should have been.

19   Overtime Violation – Travel Time
20           24.     Defendant also did not compensate Plaintiff and the other FLSA Collective

21   Plaintiffs for time they spent in transit between mandatory work activities.

22           25.     Two or three times a week, Plaintiff’s manager scheduled a videoconference work

23   meeting with Foreman and the other Solutions Consultants in his Region (the Region included

24   parts of Texas, Louisiana, and stretched into Florida). These work meetings took place early in

25   the morning, and the Solutions Consultants attended the meeting while at home.

26           26.     These work meetings constituted an integral and indispensable part of Defendant’s

27   business, as the Solutions Consultants discussed new technologies and received mandatory

28   instructions and required job information from their supervisors and the Regional Manager.
                                                                              COLLECTIVE ACTION COMPLAINT
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 1          27.     The time spent on these work meetings, at which attendance was mandatory, was

 2   more than de minimis.

 3          28.     Apple instructed Plaintiff (and all FLSA Collective Plaintiffs) to clock in for these

 4   meetings, which generally lasted about an hour. However, when the meeting ended, Apple

 5   instructed Plaintiff and the other FLSA Collective Plaintiffs to clock out before they immediately

 6   travelled on site to continue their workdays. Only upon arrival at their work sites were Plaintiff

 7   and the other FLSA Collective Plaintiffs told to clock back in.

 8          29.     This policy or practice was temporarily suspended during the coronavirus

 9   shutdown, due to work-from-home policies in effect at the time. However, in 2021, when the

10   work-from-home policies ended, Defendant once again returned to the same practice of requiring

11   Solutions Consultants to clock out after the videoconference work meetings and clock back in

12   only upon arrival at their work sites, thereby not accounting for the time spent in transit.

13                              COLLECTIVE ACTION ALLEGATIONS
14          30.     Plaintiff re-alleges and incorporates by reference all allegations in all preceding

15   paragraphs.

16          31.     Foreman brings this case as a collective action under the FLSA to recover unpaid

17   overtime compensation, liquidated damages, statutory penalties, attorney’s fees and costs, and all

18   other damages owed to him and all similarly situated employees of Defendant. The Collective is

19   defined as:

20                  All hourly paid employees of Apple Inc., holding the job title of
                    Solutions Consultant, who worked within the three years prior to the
21                  date of filing of this Complaint.
22          32.     There are numerous members of the FLSA Collective who have been affected by

23   Defendant’s improper policies and practices as alleged herein.

24          33.     The precise number of FLSA Collective Plaintiffs can be readily identified and

25   located using Defendant’s timesheets, payroll, and personnel records. Given the composition and

26   size of the FLSA Collective Plaintiffs, potential opt-in class members may be informed of the

27   pendency of this Collective Action by direct mail, text message, and email.

28
                                                                               COLLECTIVE ACTION COMPLAINT
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 1          34.     This action is properly maintained as a collective action because Foreman is

 2   similarly situated to the collective action members, who were subject to the same uniform

 3   overtime policies, payment practices, and operational procedures. Defendant’s willful policy or

 4   practice of failing to pay employees proper wages and overtime compensation for all hours

 5   worked has affected Foreman and similarly situated employees in the same fashion.

 6          35.     Defendant applied these unlawful employment and payment policies in the same

 7   manner to all potential members of the FLSA Collective. Common issues of law and fact

 8   therefore predominate. Thus, liability and damages can be determined based on common and

 9   collective-wide evidence. Pursuing this matter as a collective action serves the most expeditious

10   use of the Court’s time and resources, as well as avoiding multiple actions on these issues with

11   potential for differing or inconsistent judgments.

12          36.     Plaintiff further requests that the Court authorize expedited notice to the FLSA

13   Collective Plaintiffs to inform them of the pendency of this action and their right to “opt-in” to

14   this lawsuit pursuant to 29 U.S.C. § 216(b), for the purpose of seeking unpaid overtime

15   compensation and liquidated damages under the FLSA.

16                                      COUNT ONE:
                         FAIR LABOR STANDARDS ACT – REGULAR RATE
17

18          37.     Plaintiff re-alleges and incorporates by reference all allegations in all preceding

19   paragraphs.

20          38.     The FLSA requires that overtime premiums be paid at “a rate not less than one and

21   one-half times the regular rate at which [the employee] is employed.” 29 U.S.C. § 207(a).

22          39.     “Regular rate” is defined as including “all remuneration paid to, or on behalf of,

23   the employee,” subject to eight discrete statutory exceptions. 29 U.S.C. § 207(e)(1) – (8).

24   Commissions “are payments for hours worked and must be included in the regular rate.” See 29

25   C.F.R. § 778.117.

26          40.     Defendant calculates overtime for the FLSA Collective Plaintiffs based on their

27   base hourly rate, without taking into account commissions and/or other compensation. Such

28   commissions and/or other compensation are not included in the statutory exceptions set forth
                                                                              COLLECTIVE ACTION COMPLAINT
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 1   above, and Defendant’s exclusion of those payments from the regular rate results in

 2   underpayment of overtime.

 3          41.     Defendant has failed to properly disclose or apprise the FLSA Collective Plaintiffs

 4   of their rights under the FLSA.

 5          42.     Due to the intentional, willful, and unlawful acts of Defendant, the FLSA

 6   Collective Plaintiffs suffered lost compensation for time worked over forty (40) hours per week,

 7   and hereby seek recovery of all such sums plus liquidated damages.

 8          43.     Plaintiffs are entitled to an award of reasonable attorney’s fees and costs pursuant

 9   to 29 U.S.C. §216(b).

10                                   COUNT TWO:
                      FAIR LABOR STANDARDS ACT – UNPAID OVERTIME
11

12          44.     Plaintiff re-alleges and incorporates by reference all allegations in all preceding

13   paragraphs.

14          45.     The FLSA requires employers to pay employees who work over forty hours in a

15   workweek overtime compensation “not less than one and one-half times the regular rate at which

16   he is employed.” 29 U.S.C. § 207(a)(1). “Where an employee is required to report at a meeting

17   place to receive instructions or to perform other work there . . . , the travel from the designated

18   place to the work place is part of the day’s work, and must be counted as hours worked regardless

19   of contract, custom, or practice.” 29 C.F.R. § 785.38.

20          46.     Defendant violated the FLSA by failing to pay Plaintiff and the FLSA Collective

21   Plaintiffs the legally mandated hourly overtime premium for all hours worked over forty in a

22   workweek.

23          47.     Defendant’s failure to pay federally-mandated overtime is the result of a deliberate

24   scheme whereby Defendant sought to avoid or reduce paying overtime by requiring Plaintiff and

25   the FLSA Collective Plaintiffs to clock out after completing their mandatory morning

26   videoconference work meeting, drive to their work site, and then—and only then—clock back in.

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                                                                               COLLECTIVE ACTION COMPLAINT
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 1          48.     Plaintiff and the FLSA Collective Plaintiffs were, and are, entitled to be paid at the

 2   statutory rate of one and one-half times Plaintiffs’ regular rate of pay for those hours worked in

 3   excess of forty (40) hours for each workweek.

 4          49.     Defendant’s actions were willful and/or showed reckless disregard for the

 5   provisions of the FLSA as evidenced by their failure to compensate the FLSA Collective

 6   Plaintiffs at the statutory rate of one and one-half times Plaintiffs’ regular rate of pay for the hours

 7   worked in excess of forty (40) hours per workweek when Defendant knew, or should have

 8   known, such payment was due.

 9          50.     Defendant has failed to properly disclose or apprise the FLSA Collective Plaintiffs

10   of their rights under the FLSA.

11          51.     Due to the intentional, willful, and unlawful acts of Defendant, the FLSA

12   Collective Plaintiffs suffered lost compensation for time worked over forty (40) hours per week,

13   and hereby seek recovery of all such sums plus liquidated damages.

14          52.     Plaintiffs are entitled to an award of reasonable attorney’s fees and costs pursuant

15   to 29 U.S.C. §216(b).

16                                         PRAYER FOR RELIEF
17          WHEREFORE, Plaintiff Anthony P. Foreman, on behalf of himself and the FLSA

18   Collective Plaintiffs, respectfully prays for judgment against Defendant as follows:

19                  a.       Certification as a collective action;

20                  b.       Payment of unpaid overtime wages to Foreman and the FLSA Collective

21                           Action Plaintiffs;

22                  c.       Liquidated damages to the fullest extent permitted under the law;

23                  d.       Litigation costs, expenses, and attorney’s fees to the fullest extent

24                           permitted under the law;

25                  e.       In the event that Plaintiffs do not recover liquidated damages as allowed,

26                           then Plaintiffs demand an award of prejudgment interest as a lesser

27                           alternative to liquidated damages.

28
                                                                                COLLECTIVE ACTION COMPLAINT
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 2   Dated: July 1, 2022           Respectfully submitted,
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 4

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                                                                     COLLECTIVE ACTION COMPLAINT
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